              Case 3:18-bk-01164-JAF       Doc 29    Filed 04/23/18    Page 1 of 2



                                       ORDERED.


     Dated: April 23, 2018




                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION
                                 www.flmb.uscourts.gov


In re:                                          CASE NO.: 3:18-bk-01164-JAF

EIHAB H. TAWFIK, M.D., P.A.,                    CHAPTER 11

            Debtor.
______________________________/

     ORDER GRANTING DEBTOR’S EMERGENCY MOTION FOR AUTHORITY
           TO PAY PREPETITION COMPENSATION AND BENEFITS

         THIS CASE came on for emergency preliminary hearing on April 16, 2018 (“Hearing”),

upon the emergency motion of EIHAB H. TAWFIK, M.D., P.A. (“Debtor”), for authority to

pay prepetition compensation, salaries, and benefits to its employees (the “Motion”), filed on

April 12, 2018 (Doc No. 10).     Upon consideration of the Motion and the arguments of counsel

present at the Hearing, it is hereby

         ORDERED:

         1.     The Motion is GRANTED to the extent provided herein.
              Case 3:18-bk-01164-JAF              Doc 29       Filed 04/23/18        Page 2 of 2



         2.      Debtor may pay prepetition compensation, salaries, and benefits to its employees

for the pay period of March 25, 2018 through April 7, 2018 (the “April 13 Pay Period”), and the

wages for three-day prepetition period of April 8, 2018 through April 10, 2018 (the “April 27 Pay

Period”) (collectively referred to herein as the “Prepetition Pay Periods”) incurred in the ordinary

course of business, which amount is estimated to be approximately $49,521.98 for the Prepetition

Pay Period.

         3.      However, no payments may be made to Dr. Eihab Tawfik for such pre-petition

salary, compensation or benefits for the Prepetition Pay Period without further order from this

Court.


Attorney Justin M. Luna is directed to serve a copy of this order on interested parties and file a proof of service
within three (3) days of entry of the order.
